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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT


JO LYNN WILSON                             :
                                           :
VS.                                        :       NO. 3:15cv207(MPS)
                                           :
YALE UNIVERSITY                            :       MARCH4, 2015


                              AMENDED COMPLAINT


       1. This is an action pursuant to the Americans with Disabilities Act of

1990, 42 U.S.C. §§ 12111, et seq., Section 504 of the Rehabilitation Act of 1973,

29 U.S.C. §§ 794, et seq. to redress the deprivation by the defendant of rights

secured to the plaintiff by the laws of the United States. The defendant

discriminated against the plaintiff in employment on the grounds of her disability

and refused to provide her a reasonable accommodation of said disability.

       2. Jurisdiction of this court is invoked under the provisions of Sections

1331, 1343(3) and 1367(a) of Title 28 of the United States Code.

       3. During all times mentioned in this action, the plaintiff was, and still is,

an adult citizen of the United States residing in New Haven, Connecticut. She

suffers, and at all relevant times suffered, from a disability within the meaning of

the aforesaid statutes, to wit, a severe heart defect for which the plaintiff had



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undergone bypass surgery prior to her employment by the defendant and which

defect which affects her ability to engage in major life activities including

continuing to live. At all times mentioned herein, the defendant was aware of the

plaintiff’s said disability, having been made aware of it at the time the plaintiff

was hired. Despite her disability, however, the plaintiff at all times was able to

perform the essential functions of her job and in fact did so for a long time.

       4. During all times mentioned in this action, the defendant was and is an

educational institution chartered by the State of Connecticut and having its main

campus in the City of New Haven. It is and at all relevant times was an employer

within the meaning of the aforesaid statutes and at all relevant times employed

more than one hundred individuals. At all relevant times, the defendant was the

recipient of federal funds for the operation of many of its programs, including

those in which the plaintiff was employed.

       5. The plaintiff has complied with all of the procedural prerequisites to suit

under the statutes aforementioned, having received a Notice of Right to Sue

mailed to her from the Boston office of the United States Equal Employment

Opportunity Commission on November 17, 2014.

       6. The plaintiff was hired by the defendant as a Research Aide on or

about December 11, 2010, as part of a project between the defendant and a

coalition of municipal agencies called the New Haven Mental Health Outreach for


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Mothers (“MOMS”). The program was funded with a $2.5 million five-year

federal grant.

       7. The plaintiff thereafter performed all of her duties more than

satisfactorily and made a significant contribution to the success of the MOMS

program.

       8. On or about March 20, 2012, the plaintiff suffered a minor injury at

work. Although she made no complaint to anyone about the injury, a supervisor,

Heather Howell, on or about March 22, 2012, ordered her to submit a First Injury

Report and be seen by an occupational health specialist at the St. Raphael

Occupational Health Center.

       9. On or about March 29, 2012, when the plaintiff was seen by the

medical specialist to whom she had been ordered to report, the specialist

discovered a significant heart irregularity and instructed her immediately to report

to her cardiologist.

       10. The plaintiff did report to her cardiologist, who on March 29, 2012,

wrote a note to the defendant stating: “Seen today. Out of work for further

Evaluation by Cardiology.” The plaintiff’s husband delivered that note to the

defendant in a timely manner.

       11. On April 9, 2012, a supervisor of the plaintiff sent her an email which

stated: “I hope you are doing well. I am writing to request permission to access


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your Yale email account in order to keep timely with our correspondence with the

community partners and any other project-related business. Please provide the

password so that we can have access to the account.” The plaintiff promptly

provided that password as requested.

       12. On April 11, 2012, the defendant terminated the plaintiff’s

employment because she was temporarily out of work because of her heart

condition.

       13. At the time of her termination, the plaintiff was being paid at a rate of

$17.98 per hour.

       14. In the manner described above, the defendant discriminated against

the plaintiff because of her disability and refused provide the plaintiff with a

reasonable accommodation of her said disability, all in violation of the statutes

above stated.

       15. As a result, the plaintiff has suffered economic losses and emotional

distress.

       WHEREFORE, the plaintiff claims judgment against the defendant as

follows:

       A. Compensatory damages in an amount this court shall consider to be

just, reasonable and fair;

       B. Punitive damages in an amount this court shall consider to be just,


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reasonable and fair;

       C. Attorney fees and the costs of this action;

       D. A temporary and permanent injunction requiring the defendant

forthwith to rehire the plaintiff with full back pay and benefits;

       E. Such other relief as this court shall consider to be fair and equitable.


                                    THE PLAINTIFF


                                    BY:          /s/    (ct00215)
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CERTIFICATION OF SERVICE

On the date above stated, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                             /s/
                                    JOHN R. WILLIAMS




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